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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO


                                                                                                           1 MINUTE


      MINUTE OF PROCEEDINGS                                                      DATE: October 28, 2021
U.S. MAGISTRATE JUDGE CAMILLE VELEZ-RIVE                                         AUSA Jonathan Gottfried

  UNITED STATES OF AMERICA
                                                                                           Return of
  Plaintiff                                                                  Superseding Indictment by the Grand Jury
                                                                                   Criminal No. 21-CR-00393 (PAD)
  v

  HIPOLITO LARREGUI-SANTIAGO (1)
  DELIS B. RIVERA-SOTO (2)
  Defendant(s)


      Superseding Indictment was filed in open court.

Arraignment as to defendant #2 is set for October 28, 2021 at 11:30 AM via VTC before Magistrate Judge
Marshal D. Morgan.

Arraignment as to defendant #1 is set for November 12, 2021 at 1:30 pm via VTC before Magistrate Camille
Velez-Rivé.

Case is assigned to Judge Pedro A. Delgado.


NEW CASE:


        This Indictment supersedes Criminal Case No. 21-393.

        Defendant(s) #2 has/have appeared in 21-MJ-01280. This case having been merged is hereby closed.

        Defendant(s) has/have not appeared in a magistrate case.

        The Court granted the government’s motion to seal.

        Defendant(s) #2 is/are to remain on same bond.

        Defendant(s) #1 is/are under custody. Marshal to produce defendant(s).

        Arrest warrants to be issued.

        Summons to be issued.

        Defendant(s)              Clerk to notify : (        ) Defendant (     ) Sureties .



                                                                          S/Miriam Cruz
                                                                       Courtroom Deputy Clerk
